Case 2:20-cv-04880-DSF-KS Document 49 Filed 10/30/20 Page 1 of 1 Page ID #:2052

                         UNITED STATES COURT OF APPEALS
                                                                                     FILED
                                                                                     OCT 30 2020
                                 FOR THE NINTH CIRCUIT
                                                                                 MOLLY C. DWYER, CLERK
                                                                                   U.S. COURT OF APPEALS
  R.J. REYNOLDS TOBACCO                                No.   20-55930
  COMPANY; et al.,
                                                       D.C. No.
                  Plaintiffs-Appellants,               2:20-cv-04880-DSF-KS
                                                       Central District of California,
   v.                                                  Los Angeles

  COUNTY OF LOS ANGELES; et al.,                       ORDER

                  Defendants-Appellees.

           The Clerk is directed to temporarily close this court’s docket for

 administrative purposes only until January 15, 2021. This administrative closure is

 not a decision on the merits and no mandate will issue in connection with this

 order.

           If this matter is resolved before January 15, 2021, appellant shall file either a

 motion or stipulation to dismiss this appeal pursuant to Fed. R. App. P. 42(b).

           At any time before January 15, 2021, any party may request that this appeal

 be reopened.

           On or before January 8, 2021, counsel for appellant is requested to contact

 the mediator by email (jonathan_westen@ca9.uscourts.gov) to report on the status

 of the case.

                                                    FOR THE COURT

                                                    By: Jonathan Westen
                                                    Circuit Mediator
 JW/Mediation
